     Case 4:19-cr-00069-WTM-CLR Document 161 Filed 12/03/19 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


THE UNITED STATES OF AMERICA,                      )
                                                   )
                     Plaintiff,                    )
v.                                                 )      4:19CR69-1
                                                   )
GILBERT BASALDUA,                                  )
                                                   )
        Defendant.                                 )


                                         ORDER

       Counsel in the above-captioned case have advised the Court that some pretrial motions

have been complied with and the issues raised in the following motions have been resolved by

agreement. The following motions filed in this case are DISMISSED AS MOOT:

       Doc. 102 First Motion for Bill of Particulars;
       Doc. 106 First Motion for Release of Brady Materials; and
       Doc. 108 First Motion for Jencks Material.

       The remaining motions have been set for hearing by separate Order.

                                           SO ORDERED, this 2nd day of December 2019.



                                           ______________________________
                                           ________
                                                  ___
                                                    _ ________
                                                         _    ___
                                                               _ ____
                                                                   _______
                                           CHRISTOPHER
                                           CHRI
                                              R STO
                                                  OPHP ER L. RAY
                                                   STATES
                                           UNITED STATE     MAGISTRATE JUDGE
                                                         ES MAGISTRAT
                                           SOUTHERN DISTRICT OF GEORGIA
